 Case 3:11-cv-04300-FLW-TJB Document 3 Filed 09/12/11 Page 1 of 2 PageID: 11




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                :
Robert DeSanto,                                 :
                                                : Civil Action No.: 3:11-cv-04300-FLW -TJB
                      Plaintiff,                :
       v.                                       :
                                                :
Cardworks Servicing, LLC; and DOES 1-10,        :
inclusive,                                      :
                                                :
                      Defendant.                :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)

       Robert DeSanto (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: September 12, 2011

                                                    Respectfully submitted,

                                                    By: /s/ Sofia Balile

                                                         Sofia Balile, Esq.
                                                         Lemberg & Associates LLC
                                                         1100 Summer Street
                                                         Stamford, CT 06905
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                                                         Attorneys for Plaintiffs
 Case 3:11-cv-04300-FLW-TJB Document 3 Filed 09/12/11 Page 2 of 2 PageID: 12




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 12, 2011, a true and correct copy of the foregoing
Notice of Withdrawal was served electronically by the U.S. District Court for the District of New
Jersey Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                            By_/s/ Sofia Balile_______

                                                 Sofia Balile
